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                  Exhibit 27
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SUSAN BYRNE, LIST OF ALL RESEARCH, PROFESSIONAL RECOGNITION AND AWARDS


PUBLICATIONS
BOOKS AUTHORED
      Ficino in Spain. Toronto: University of Toronto Press, 13 July 2015.

      Law and History in Cervantes' Don Quixote. Toronto: University of Toronto Press, 24 September
      2012. Reprinted, May 2013. Paperback, August 2013, Kindle, August 2013.

              Reviews: Edward Friedman in Choice Reviews Online 50.8 (April 2013); Frederick de
              Armas in Revista de Estudios Hispánicos (June 2013) 342-44; J.A.G. Ardila in Bulletin of
              Hispanic Studies 90.7 (2013) 867-69; Barbara Simerka in Renaissance Quarterly 66.4
              (Winter 2013) 1493-95; Edward Friedman in Cervantes 33.2 (Fall 2013) 217-19; Laurent
              de Sutter in Law and Literature 26.1 (2014) 117-26; Eric Graf in Modern Philology 112.1
              (August 2014) 49-53; Shannon Polchow in Hispania 97.3 (September 2014) 510-11

              Podcast interview: Siobhan Mukerji, http://newbooksinlaw.com/2015/01/29/susan-byrne-
              law-and-history-in-cervantes-don-quixote-university-of-toronto-press-2013/, 29 January
              2015

              Newpaper interview: El Comercio, Lima, Perú, 19 May 2015

      El Corpus Hermeticum y tres poetas españoles: Francisco de Aldana, San Juan de la Cruz y fray
      Luís de León. Conexiones léxicas y semánticas entre la filosofía hermética y la poesía española
      del siglo XVI. Newark, DE: Juan de la Cuesta, 15 March 2007.


ARTICLES PUBLISHED IN REFEREED JOURNALS AND VOLUMES

      “Chapter 2. Constitutions.” A Cultural History of Law in the Early Modern Age (1500-1680). Ed.
               Peter Goodrich. London: Bloomsbury Academic. [forthcoming, 2017]
      “Intellectual Life in the Spanish Renaissance.” Co-authors. Susan Byrne and Lía Schwartz. A
               Companion to the Spanish Renaissance. Series. RSA Texts and Studies. Ed. Hilaire
               Kallendorf. Brill. [submitted, forthcoming, 2017]
      “Reason of State in Cervantes Republic: Don Quijote II, 1.” eHumanista/Cervantes 31 (2015).
               Special issue on the Quijote of 1615.
      “Coloquio, murmurar, canes muti: Cervantes y los jesuitas.” Un paseo entre los centenarios
               cervantinos. Numero monográfico especial sobre Cervantes. Eds. Robert Lauer and
               Caterina Ruta. Cuadernos AISPI [Associazione Ispanisti Italiani]: Estudios de lenguas y
               literaturas ibéricas 5 (2015) 81-95.
      “Las repúblicas platónica, aristotélica y cervantina a la luz del corregidor Castillo de Bobadilla.”
               La autoridad de la Antigüedad. Autoridad y poder IV. Ed. Christoph Strosetzki. Madrid:
               Universidad de Navarra/ Iberoamericana/ Vervuert, 2014. 49-71.
      “Cuestionamiento del hermetismo ficiniano en un manuscrito escurialense del siglo XV.” Bulletin
               of Spanish Studies 89.2 (March 2012) 173-92.




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     “On the Question of Ficino in Spain: From Platonic Theology to Philography.” Recent Studies on
             Ficino. Eds. Valery Rees and James Snyder. Leiden: Brill. [submitted 2012, forthcoming]
     “Cervantes and the Histories of Paolo Giovio: Translators and Truths.” Cervantes XXIX.2 (Fall
             2009) 173-89.
     “Cervantes' Don Quijote as Legal Commentary.” Cervantes XXVII.2 (Fall 2007) 81-104.
     “Neostoic Pyrotechnics in Franciso de Aldana and San Juan de la Cruz.” Caliope 11.1 (Fall 2005)
             87-103.
     “¿Por qué una niña de nuef años?: la edad de razón y la razón del poeta del CMC.” La corónica
             31.1 (Fall 2002): 5-17.


ARTICLES PUBLISHED IN CONFERENCE PROCEEDINGS

     “Las leyes en el Quijote, de 1605 a 1615.” Autour de Don Quichotte de Miguel de Cervantes:
             Hommage à Augustin Redondo et à Jean Canavaggio. Ser. Travaux du CRES. Eds.
             Hélène Tropé and Philippe Rabaté. Paris: Université Paris 3 Sorbonne Nouvelle, 2015.
             123-30.
     “Cervantes y Castillo de Bobadilla.” Comentarios a Cervantes: Actas selectas del VIII Congreso
             Internacional de la Asociación de Cervantistas, Oviedo, 11 al 15 de junio de 2012. Eds.
             Emilio Martínez Mata y María Fernández Ferreiro. Asturias: Fundación María Cristina
             Masaveu Peterson, 2014. 356-67.
     “Ficinian Sun Imagery in Renaissance Spanish Letters.” The Republic of Letters and the Empire
             of the Two Worlds: Culture and Society in Baroque Spain. Actas, New York Conference,
             September 14-16, 2010. NY: Hispanic Society of America. [in press]
     “Aspectos histórico-jurídicos en las obras de Miguel de Cervantes.” Compostella Aurea. Actas
             del VIII Congreso de la Asociación Internacional Siglo de Oro (AISO), Santiago de
             Compostela, 7 al 11 de julio de 2008. 3 vols. Eds. Antonio Azaustre Galiana and
             Santiago Fernández Mosquera. Santiago: Servizo de Publicacións e Intercambio
             Científico da Universidade de Santiago de Compostela, 2011. 2:109-116.
     “Miguel de Cervantes y Paolo Jovio: los caballeros antiguos y modernos y el de la Mancha.”
             Actas del XVI Congreso de la Asociación Internacional de Hispanistas, 9 al 13 de julio
             de 2007, París. 3 vols. Eds. Pierre Civil y Françoise Crémoux. Madrid: Iberoamericana,
             2010. 3:72-82.
     “El léxico del hermetismo en algunos versos de San Juan de la Cruz y Francisco de Aldana.”
             Edad de Oro Cantabrigense: Actas del VII Congreso de la Asociación Internacional
             Siglo de Oro, Robinson College, Cambridge, 18 al 22 de julio de 2005. Ed. Anthony
             Close. Madrid: Iberoamericana Vervuert, 2006. 129-35.


PUBLISHED REVIEWS

     In Renaissance Quarterly (Winter 2015). Review of Stephen Rupp, Heroic Forms: Cervantes and
            the Literature of War (Toronto: University of Toronto Press, 2014).
     In Cervantes (Fall 2015). Review of Michael Scham, Lector Ludens: The Representation of
            Games & Play in Cervantes (Toronto: University of Toronto Press, 2014).




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      In Revista de Estudios Hispánicos 49.1 (2015). Review of Barbara Fuchs, The Poetics of Piracy
              (Philadelphia: University of Pennsylvania Press, 2013).
      In Bulletin of Spanish Studies 91.5 (2015). Review of Objects of Culture in the Literature of
              Imperial Spain. Eds. Mary E. Barnard and Frederick A. de Armas. (Toronto: University
              of Toronto Press, 2013).
      In Journal of Spanish Cultural Studies 13.3 (2012). Review of Michael Armstrong-Roche,
              Cervantes' Epic Novel: Empire, Religion, and the Dream Life of Heroes in Persiles
              (Toronto: University of Toronto Press, 2009).
      In Iberoamericana. América Latina, Portugal, España. Notas. Reseñas Iberoamericanas.
              Literatura, sociedad, historia (2010). Review of Autoridad y poder en el Siglo de Oro.
              Eds. Ignacio Arrellano, Cristoph Strosetzki and Edwin Williamson (Frankfurt am Main:
              Vervuert, 2009).


PUBLISHED TRANSLATIONS

      “The Epigraphs in La Celestina: Titles, Subtitles, Rubrics, Arguments.” TEXT 14 (2002): 139-
              168. [Patrizia Botta, "Los epígrafes en La Celestina: títulos, subtítulos, rúbricas,
              argumentos."]
      Galician Generation of the Eighties. Three poets: Zulio L. Valcárcel, Pilar Pallares, Ramiro
              Fonte. Ed. Luciano Rodríguez. Trans. Cuesta, Byrne, Schinaider, Villa, Ruth. A Coruña:
              Universidade Da Coruña, 1999.


PUBLISHED BIBLIOGRAPHICAL RESEARCH

      “El hispanismo en el mundo. Estados Unidos.” Boletín of the Asociación Internacional de
      Hispanistas
      Bibliografía: publications in studies of Hispanic literature in the United States, 2002-2012.
      Crónica: research directions and trends in studies of Hispanic literature, as evidenced in
              conference proceedings and journal publications in the United States, 1999-2012.


INVITED LECTURES AND PAPERS DELIVERED

INVITED LECTURES – INTERNATIONAL

      “El cervantismo en los Estados Unidos.” Round Table, Asociación de Cervantistas, São Paulo,
              Brazil, 3 July 2015.
      “La razón de estado cervantina: Don Quijote II, 1.” Invited colloquium paper, Lima, Perú, 14
              May 2015.
      “Las leyes en el Quijote, de 1605 a 1615.” Invited colloquium paper, Autour de Don Quichotte de
              Miguel de Cervantes: Hommage à Augustin Redondo et à Jean Canavaggio.
              Bibliothèque Mazarine et Collège d'Espagne, Paris, France, 15-17 January 2015.
      “Encuentro de Investigadores sobre «Prosa».” Asociación Internacional Siglo de Oro, Università
              Ca Foscari, Venice, Italy, 14-18 July 2014.




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      “Las repúblicas platónica, aristotélica y cervantina a la luz del corregidor Castillo de Bobadilla.”
              La autoridad de la antigüedad. Düsseldorf, Germany, 30 November 2012.
      “Cervantes: historia, ley y novela.” Invited colloquium paper. Ortodoxia y heterodoxia en
              Cervantes. Asociación de Cervantistas, Münster, Germany, 2 October 2009.
      “Ecos de Marsilio Ficino en la poesía española del siglo XVI.” Invited colloquium paper. Book
              presentation: Las cartas de Marsilio Ficino. Vol. 1. Speakers: Clement Salaman
              (Oxford), Arthur Farndell (Cambridge), Susan Byrne (Yale), Isabel Ordieres (Alcalá de
              Henares). Organizer. Fátima Macho, Esq. Círculo de Bellas Artes, Madrid, Spain, 21
              October 2009.


INVITED LECTURES – UNITED STATES

      “The Double Venus in Cervantes' La fuerza de la sangre.” First Biennial Cervantes
              Symposium of the North East. New York City, 19 November 2015. [upcoming]
      “‘Essentiae’ en Ficino y en el Quijote (II, 16): las letras y la preceptiva cervantina.” La obra de
              Cervantes ayer y hoy. Su presencia en las letras hispánicas. Symposium, Graduate
              Center, CUNY, NYC, 11 September 2015. [upcoming]
      “Poetics and Reality of the Curious Philosopher: From Ficino to Gracián.” Curiosity and
              Modernity in Early Modern Spain. Organizer. Marina S. Brownlee. Princeton University,
              4 April 2015.
      “Reason of State in Cervantes' Republic.” Chicago Cervantes Symposium. Instituto Cervantes,
              Chicago, 26 April 2013.
      “A Fictitious Volume in the Library of Phillip II: Rabbi Samuel and the Pimander.” The Republic
              of Letters and the Empire of the Two Worlds: Culture and Society in Baroque Spain.
              University of Nottingham, CUNY Graduate Center, The Hispanic Society of America,
              Instituto Cervantes New York, 14-16 September 2010.
      “Cervantes, Baeza, Giovio: History, Law, Novel.” Renaissance Seminar, Wesleyan Univ., 2 April
              2009.



CONFERENCE PAPERS

      “Metaphysical Curiosity in Baltasar Gracián’s Criticón.” Renaissance Society of America,
              Boston, 31 March-2 April 2016 [upcoming].
      “Las armas y letras (leyes) cervantinas, de 1605 a 1615.” Panel Title: El Quijote y los procesos de
              enunciación. Chair. Susan Byrne. Asociación de Cervantistas, São Paulo, Brazil, 29 June
              2015.
      “The spiritus in Spain.” Panel title: Marsilio Ficino IV – Reception Studies. Chair: Denis
              Robichaud, University of Notre Dame. Renaissance Society of America, 27 March 2015,
              Berlin, Germany.
      “Ficino and Plato in Cervantes' Galatea.” Panel Title: Renaissance Pastoral: The "Third" Genre
              Revisited II. Organizer and Chair: Alexandra Coller, Lehman College, CUNY.
              Renaissance Society of America, New York, 27-29 March 2014.




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“Ficino y Cervantes: el amor perfecto, obligado y platónico.” Panel title: Literatura española del
        Siglo de Oro. Chair: Florencia Calvo, Universidad de Buenos Aires. Asociación
        Internacional de Hispanistas, Buenos Aires, Argentina, 18 July 2013.
“Why Don Quijote needs to 'desfacer fuerzas' in the episode of the Galley Slaves.” Panel title:
        Itineraries of Genre in the Writings of Cervantes. Organizer: Cervantes Society of
        America. Renaissance Society of America, San Diego, 5 April 2013.
“Cervantes y Castillo de Bobadilla.” Panel title: Quijote. Chair. María Stoopen Galán,
        Universidad Nacional Autónoma de México. Asociación de Cervantistas, Oviedo, Spain,
        14 July 2012.
“The De vita in Spain.” Panel title: Ficino V: Looking Forward. Organizer. Valery Rees, London
        School of Economic Science. Renaissance Society of America, Washington, D.C., 22
        March 2012.
“Passion, Science, and Transcendence in Plato, Fox Morcillo, and San Juan de la Cruz.” Panel
        title: Passions in Premodern Hispanic Literature (XV-XVII Centuries). Organizer. Sanda
        Munjic, University of Toronto. Modern Language Association, Seattle, WA, 5 January
        2012.
“Ficino en España: Fox Morcillo y Platón.” Panel title: Recepción. Chair: Susan Byrne.
        Asociación Internacional Siglo de Oro, Poitiers, France, 15 July 2011.
“The Authoritative Ficino in Spain.” Panel title: Naples, Spain and England. Organizer. Valery
        Rees, School of Economic Science, London. Renaissance Society of America, Montreal,
        Canada, 25 March 2011.
“El mos hispanicus de Miguel de Cervantes.” Panel title: Cervantes narrador. Chair. Agustín
        Redondo, Sorbonne. Asociación Internacional de Hispanistas, Rome, Italy, 23 July 2010.
“Ficino in Spanish Translation.” Panel title: Ficino IV: Evolving Practices in Translation.
        Organizer & Chair. Valery Rees, London School of Economic Science. Renaissance
        Society of America, Venice, Italy, 9 April 2010.
“Ficino in Spain II: The Dark Side?” Panel title: Ficino: Opponents and Demons. Organizer &
        Chair. Valery Rees, School of Economic Science, London. Renaissance Society of
        America, Los Angeles, CA, 20 March 2009.
“Miguel de Cervantes, Paolo Giovio and Gaspar de Baeza: Polemical History as Fictional
        Fodder.” Panel title: Don Quijote as a Book of History. Chair. Vincent Martin, University
        of Delaware. Organizer. Ana Laguna, Rutgers University. Modern Language Association,
        San Francisco, CA, 28 December 2008.
“Aspectos legales e históricos en Cervantes.” Chair. Elena A. Marcello, Universidad de Castilla-
        La Mancha. Asociación Internacional Siglo de Oro, Compostela de Santiago, Spain, 9
        July 2008.
“Ficino in Spain.” Panel title: Marsilio Ficino V: Sixteenth and Seventeenth Century Perspectives.
        Chair. Christopher Celenza, Johns Hopkins University. Organizer. Valery Rees, London
        School of Economic Science. Renaissance Society of America, Chicago, IL, 5 April
        2008.
“Miguel de Cervantes y Paolo Jovio: los caballeros antiguos y modernos y el de la Mancha.”
        Panel title: Literatura y cultura: Circulaciones literarias entre España e Italia. Chair.
        Aldo Ruffinatto, Università di Torino, Italy. Asociación Internacional de Hispanistas,
        Paris, France, 13 July 2007.




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      “Ficino, Aldana and Fray Luis de León: Using the Sun to Connect the Sensible and Intelligible
               Worlds.” Panel title: Marsilio Ficino on Lucretian Matter, and His Image of Light in
               Later Poets. Chair. Christopher Celenza, Johns Hopkins University. Organizer. Valery
               Rees, School of Economic Science, London. Renaissance Society of America, Miami,
               FL, 24 March 2007.
      “Literal and Literary Architecture as Legalistic Irony in Don Quijote (I, 3): Why is la capilla
               derribada?” Panel title: Cervantine Architectures. Chair. James Parr, University of
               California, Riverside. Organizer. Fred de Armas, University of Chicago. Modern
               Language Association, Philadelphia, PA, 30 December 2006.
      “These supracelestial plants that are our souls, and the rain of wisdom that nurtures them.” Panel
               title: Marsilio Ficino: Light, Love and Religion. Chair. Christopher Celenza, Johns
               Hopkins University. Organizer. Valery Rees, London School of Economic Science.
               Renaissance Society of America, San Francisco, CA, 23 March 2006.
      “El léxico del hermetismo en algunos versos de San Juan de la Cruz y Francisco de Aldana:
               ‘vestidos los dexó de -su hermosura’ el ‘sobrecelestial Narciso amante.’” Chair. Isaías
               Lerner. Asociación Internacional Siglo de Oro, Cambridge, England, 22 July 2005.
      “Neostoic Motifs in Sixteenth Century Spanish Poetry.” Panel title: Neostoicism in Early Modern
               Europe: A Reconsideration II. Organizer & Chair. Lía Schwartz, Graduate Center,
               CUNY. Modern Language Association, Philadelphia, PA, 29 December 2004.


PROFESSIONAL RECOGNITION AND AWARDS

BOARDS: Elections to executive and appointments to editorial

      Elections to executive boards
      2015-2017: Elected Discipline Representative for Hispanic Literature of the
      Renaissance Society of America

      2014-2016: Elected Member of the Executive Council, Cervantes Society of
      America

      2014-2017: Elected Vocal to the Junta Directiva of the Asociación Internacional
      Siglo de Oro

      Appointments to editorial boards
      2015-2017: Renaissance Quarterly

      2014-2016: Cervantes: Bulletin of the Cervantes Society of America

GRANTS AND AWARDS

      Griswold Grant for project From Law to Literature in Spain, A. Whitney
      Griswold Fund, Whitney Humanities Center, Yale University, 2014-2016,
      $4000.00




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Faculty Research Grant for project From Law to Literature in Spain, MacMillan
Center for International and Area Studies, Yale University, 2014-2015,
$8000.00

Publication grant for Ficino in Spain, Hilles Publication Fund, Yale University,
2014, $5000.00

Griswold Grant for research on project Ficino in Spain, A. Whitney Griswold
Fund, Whitney Humanities Center, Yale University, 2011-2013, $2500.00

Research Fellow in International and Area Studies, project Ficino in Spain,
MacMillan Center, Yale University, 2011-2012, $4500.00

Publication grant for Law and History in Cervantes' Don Quixote, Hilles
Publication Fund, Yale University, 2011, $3346.00

Morse Fellowship, Yale University, full-year paid fellowship, academic year
2010-2011

Griswold Grant for research on project Cervantes, Baeza, Giovio: History, Law,
Novel, A. Whitney Griswold Fund, Whitney Humanities Center, Yale University,
2009-2010, $2500.00

Faculty Research Grant for project Cervantes, Baeza, Giovio: History, Law,
Novel, MacMillan Center for International and Area Studies, Yale University,
2009-2010, $3000.00

Fellow, Whitney Humanities Center, Yale University, 2009-2010

Phi Sigma Iota, 2008

SUNY College at Oneonta, Provost's Faculty Development Funds, 2007-2008,
$1,177.00

SUNY College at Oneonta, Campus Professional Development Committee's
Individual Development Award 2007, $700.

City University of New York, Graduate School and University Center: University
Fellowship: 1998-2004

Phi Beta Kappa, 1996

Miguel de Cervantes Award, Department of Romance Languages, Hunter
College, CUNY, 1996

Who's Who Among Students in American Universities and Colleges, 1996




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SUSAN BYRNE


GRANTS AND AWARDS

     Griswold Grant for project From Law to Literature in Spain, A. Whitney
     Griswold Fund, Whitney Humanities Center, Yale University, 2014-2016,
     $4000.00

     Faculty Research Grant for project From Law to Literature in Spain, MacMillan
     Center for International and Area Studies, Yale University, 2014-2015,
     $8000.00

     Publication grant for Ficino in Spain, Hilles Publication Fund, Yale University,
     2014, $5000.00

     Griswold Grant for research on project Ficino in Spain, A. Whitney Griswold
     Fund, Whitney Humanities Center, Yale University, 2011-2013, $2500.00

     Research Fellow in International and Area Studies, project Ficino in Spain,
     MacMillan Center, Yale University, 2011-2012, $4500.00

     Publication grant for Law and History in Cervantes' Don Quixote, Hilles
     Publication Fund, Yale University, 2011, $3346.00

     Morse Fellowship, Yale University, full-year paid fellowship, academic year
     2010-2011

     Griswold Grant for research on project Cervantes, Baeza, Giovio: History, Law,
     Novel, A. Whitney Griswold Fund, Whitney Humanities Center, Yale University,
     2009-2010, $2500.00

     Faculty Research Grant for project Cervantes, Baeza, Giovio: History, Law,
     Novel, MacMillan Center for International and Area Studies, Yale University,
     2009-2010, $3000.00

     Fellow, Whitney Humanities Center, Yale University, 2009-2010

     Phi Sigma Iota, 2008

     SUNY College at Oneonta, Provost's Faculty Development Funds, 2007-2008,
     $1,177.00

     SUNY College at Oneonta, Campus Professional Development Committee's
     Individual Development Award 2007, $700.

     City University of New York, Graduate School and University Center: University
     Fellowship: 1998-2004




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Phi Beta Kappa, 1996

Miguel de Cervantes Award, Department of Romance Languages, Hunter
College, CUNY, 1996

Who's Who Among Students in American Universities and Colleges, 1996




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